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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                                   Criminal Action No. 21-377 (BAH)

                        v.                                  Chief Judge Beryl A. Howell

 ANTHONY ROBERT WILLIAMS,

                        Defendant.




              ORDER DENYING MOTION FOR CONTINUANCE OF TRIAL
                  SCHEDULED TO BEGIN MONDAY, JUNE 27, 2022

       On June 20, 2022, one week before the scheduled start of trial in this case on Monday,

June 27, 2022, defendant Anthony Robert Williams sought a continuance of his trial date, Def.’s

Motion to Continue Trial (“Def.’s Mot.”), ECF No. 102, scheduled nearly five months earlier on

January 21, 2022, on a date proposed by the parties, see Joint Status Report, ECF No. 29.

Defendant now seeks to delay his trial for some unspecified period “until after September 2022,”

in light of the investigation and hearings conducted by the House Select Committee to

Investigate the January 6th Attack on the United States Capitol (“Committee”). See generally

Def.’s Mot.

       Although the Committee Hearings are garnering public attention and appear to be

continuing an investigation into the events of January 6 writ large, this is not sufficient reason, at

the eleventh hour, to delay this defendant’s trial on one felony charge of obstructing a

congressional proceeding, in violation of 18 U.S.C. § 1512(c)(2), and four misdemeanor charges

of unlawfully entering and remaining in the U.S. Capitol; unlawfully engaging in disorderly and

disruptive conduct; and unlawfully parading, demonstrating, and picketing, in violation of 18


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U.S.C. §§ 1752(a)(1), (a)(2) and 40 U.S.C. § 5104(e)(2)(D), (e)(2)(G). Thus, as explained

further below, this motion to continue the trial is DENIED.

I.     DISCUSSION

       Defendant’s motion to postpone the trial takes a two-pronged approach. First, defendant

revives some of his arguments about pretrial publicity that the Court rejected when denying his

earlier motion for change of venue at the pretrial conference held June 10, 2022. Those

arguments still fail. Second, defendant raises a new concern that flirts with the concept of the

government’s discovery obligations in light of a letter, dated June 15, 2022, from the U.S.

Attorney for the District of Columbia to counsel for the Committee. Letter from Matthew M.

Graves, U.S. Attorney for the District of Columbia, et al., to Timothy J. Heaphy, Chief

Investigative Counsel, Committee (June 15, 2022) (“USAO Letter”), ECF No. 102-1. While

withstanding the government’s challenge as untimely, given that the USAO Letter postdates the

pretrial conference, this argument fails as well on the substantive merits.

       A.      Publicity and the Committee Hearings

       Defendant states that the Committee Hearings have garnered substantial viewership and

“have disclosed new evidence related to January 6 and in a manner likely to affect the public,”

including evidence previously unknown to the parties in this case. Def.’s Mot. at 2. The

Committee Hearings were already discussed at the pretrial conference, held on June 10, 2022,

the morning after the first of the Hearings was nationally broadcast in prime-time and garnered

substantial viewership. By this point, the fact that new information is being revealed over the

course of the Hearings was apparent, and nothing has happened since then to render insufficient

the voir dire inquiries on that subject.

       As noted at the pretrial conference, the Committee Hearings have been methodically

articulating an organized, high-level plot reaching the highest levels of government actors to

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disrupt Congress’s certification of the 2020 presidential election results, with specific mention of

the names of both certain government actors and certain far-right groups, including the Proud

Boys, alleged members of which group are currently charged in this Court. All agreed at the

pretrial conference that the Hearings, and their likely overlap in timing with defendant’s trial,

warranted special care at voir dire and to that end, the parties jointly proposed an additional voir

dire question, a substantially equivalent version of which will be asked by the Court, addressing

the matter. See [98] Notice to the Court in Response to the June 10, 2022 Order. Nothing has

happened since then to alter the nature and subject matter of the Hearings so as to render this

agreed-upon remedy insufficient.

         B.       House Committee Investigative Materials

         Defendant now observes that the U.S. Attorney for the District of Columbia has

contacted the Committee seeking increased access to the Committee’s investigative materials,

which might be relevant to some criminal investigations arising from the events of January 6,

2021. Def.’s Mot. at 5 (quoting USAO Letter). Defendant suggests that some of those materials,

which may not be fully released until the Fall, might in some way bear on his case and argues

that a continuance until “after September 2022” is therefore necessary. See Def.’s Mot. at 2–6.1

         Although the USAO Letter indeed indicates that substantial investigative materials exist

in the possession of the Committee that are not currently available to prosecutors (and therefore

to any defendant facing criminal charges arising from the events on January 6, 2021), defendant

offers no reason other than bald speculation to believe that such Committee materials will bear in

a material way on the evidence to be presented at trial concerning this defendant’s offense


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          The government insists that defendant’s motion is “untimely” and not based on “new information” arising
after the pretrial conference. Gov’t’s Opp’n Def.’s Mot. Continue at 1–2, ECF No. 104. Given that the USAO
Letter was issued after the pretrial conference, defendant has at least a plausible point that this letter constitutes new
information warranting the late motion. In any event, because the motion fails on the merits, no further discussion
of this timeliness dispute is necessary.
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conduct. Defendant’s suggestion that he faces “prejudice” due to the potential eventual existence

of additional information, Def.’s Mot. at 6, is unfounded as he does not even suggest that the

prosecuting government office has access to relevant information that has not been shared with

him. Defendant provides no authority suggesting that the mere existence of a parallel third party

investigation into the events of January 6, in which events defendant is charged with playing

only a small part, necessitates putting on hold all January 6-related criminal proceedings.

       Contrary to defendant’s assertion, Def.’s Mot. at 2, 4; Def.’s Reply Supp. Mot. Continue

Trial (“Def.’s Reply”) at 4, ECF No. 106, this situation does not resemble that in Delaney v.

United States, 199 F.2d 107 (1st Cir. 1952), where the defendant himself was a principal subject

of the concurrent congressional hearings, see id. at 110 (“On October 16, 1951, in Washington,

D.C., the King Committee commenced public hearings focused upon alleged derelictions of

appellant Delaney.” (emphasis added)). Furthermore, even where extensive pretrial publicity

involving the named defendant is occurring, a defendant is not per se entitled to a

continuance. See United States v. Haldeman, 559 F.2d 31, 59, 63 (D.C. Cir. 1976) (affirming the

district court’s denial of continuance despite “extraordinarily heavy coverage in both national

and local news media,” further noting that “if an impartial jury actually cannot be selected, that

fact should become evident at the voir dire”).

       Defendant further argues that prosecutors have separately consented to the Court-ordered

continuance requested by some of the defendants in United States v. Ethan Nordean, et al.,

Criminal Case No. 21-cr-175, for related reasons, see Def.’s Mot. at 4; see also Min. Entry (June

22, 2022), Nordean. Nordean, however, is entirely different from this case in kind, complexity,

and profile before the Committee. Nordean is a complex case in which five defendants allegedly

associated with the Proud Boys organization are named collectively in ten counts charging

multiple felonies, including “seditious conspiracy,” in violation of 18 U.S.C. § 2384. See Third

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Superseding Indictment, United States v. Nordean, No. 21-cr-175 (D.D.C. June 6, 2022), ECF

No. 380. The government represents that Nordean and similar cases motivated the USAO

Letter, Gov’t’s Opp’n Def.’s Mot. Continue (“Gov’t’s Opp’n”) at 4, ECF No. 104, and common

sense bears out why that is so. The Committee Hearings appear to be focusing on pre-planning

and coordination among high-level government actors (and their associates) with these right-

wing organizations for the events on January 6, 2021, and such an investigation could bear on the

evidence against defendants accused of participating in the Capitol attack in a more

organizational or systematic way, as is alleged against the Nordean defendants. The government

asserts no such allegations against this defendant, who is not even charged with conspiracy.

       Contrary to defendant’s protestation, the “broad language” of the USAO Letter, see

Def.’s Reply at 3, raises no new concern relevant for this defendant. The relevance of the

Committee’s interviews to “overall criminal investigations,” USAO Letter at 1, is obvious, but

no “investigation” is ongoing into this defendant. While the USAO Letter also indicates that

Committee materials are “likely relevant to specific prosecutions that have already commenced,”

id., there is no indication that the instant case is one of those prosecutions and ample indication

that it is not, given the dissimilarity between this case and cases like Nordean.

       Defendant’s implicit suggestion that the existence of an investigation conducted by a

third party congressional committee compels delaying peripherally related judicial criminal

proceedings for an indeterminate time—ostensibly while that congressional investigation is

ongoing until its conclusion, while awaiting the committee’s determination of whether and when

to disclose underlying investigative materials, in whole or in part, either publicly or to the

prosecuting government authorities, and, finally, while providing sufficient time for the parties to

sift through any released materials, see Def.’s Reply at 2–4—is simply a non-starter. Taken to

its logical endpoint, defendant’s argument would preclude nearly any criminal trial on any

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subject, ever, from proceeding, as it is always possible that relevant information exists

somewhere that is not fully known by or in the possession of the parties. Hence, the

government’s discovery obligations in a criminal case are properly limited to materials

potentially relevant to a defendant’s case in the government’s possession or control, and the

government is not obliged to acquire materials possessed or controlled by others. See, e.g.,

United States v. Mejia, 448 F.3d 436, 444-45 (D.C. Cir. 2006) (rejecting defense argument that

government’s discovery obligations extended to securing potentially relevant material held by

foreign government); United States v. Marshall, 132 F.3d 63, 68 (D.C. Cir. 1998) (observing that

“the government cannot be required to disclose evidence that it neither possesses nor controls");

United States v. Weisz, 718 F.2d 413, 436 (D.C. Cir. 1983)(noting that the “duty of disclosure

attaches in some form once the [g]overnment has first gathered and taken possession of the

evidence in question” (emphasis in original) (quoting United States v. Bryant, 439 F.2d 642, 644

(D.C. Cir. 1971))); see also United States v. Liddy, 542 F.2d 76, 83 (D.C. Cir. 1976) (declining

to reach the question whether the Jencks Act or Brady principles reach “materials in the

possession of Congressional Committees”).

       Defendant offers no reason to believe that the body of evidence developed in this case

about him specifically is in some way deficient, let alone deficient in a manner that prejudices

defendant relative to the government. To the extent that a single witness to be called in the

government’s case-in-chief to “establish that the Vice President—a person protected by the

Secret Service—was present at the Capitol on January 6, 2021 and thus that the Capitol Building

and grounds were a restricted area,” Gov’t’s Opp’n at 5, provided an unsworn statement to the

House Committee, id. at 5 n.1, that does not change the analysis, since not every statement made

by a government witness to a third party about the subject matter of testimony is necessarily



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converted into discoverable material, particularly when the government is neither privy to nor in

possession of that statement.

       The relatively cabined charges against defendant rise and fall on the evidence presented

at trial as to what this defendant—and nobody else—perceived, thought, intended, and did on

January 6, 2022. No congressional inquiry or investigation is required to tell that story.

                                              *   *    *

       In sum, any prejudice (or benefit) to defendant arising from the Committee Hearings will

be properly addressed by the combination of voir dire questioning and explicit instructions to

empaneled jurors not to consume any media coverage about the Committee Hearings, or

otherwise related to January 6, while the trial is underway. The events of January 6, 2021,

occurred nearly 18 months ago and this defendant was charged and arrested nearly 15 months

ago, with the trial in this case scheduled nearly 5 months ago, with ten substantive pretrial

motions already resolved in preparation for trial to proceed in less than three business days. The

interests of justice are not served by any further delay in the resolution of this case.

II.    ORDER

       For the foregoing reasons, it is hereby

       ORDERED that defendant’s Motion to Continue Trial, ECF No. 102, is DENIED.

       SO ORDERED.

       Date: June 23, 2022

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                                                       BERYL A. HOWELL
                                                       Chief Judge




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